                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  GARY STEVEN LANE,                               )
                                                  )
                Plaintiff,                        )
                                                  )
  v.                                              )          No. 3:20-CV-100-TRM-HBG
                                                  )
  THE PRUDENTIAL INSURANCE                        )
  COMPANY OF AMERICA,                             )
                                                  )
                Defendant.                        )

                                             ORDER

         This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

  and Standing Order 13-02.

         Now before the Court is Defendant’s Motion to Withdraw as Attorney. [Doc. 34]

  Defendant moves the Court to allow attorney Sonneborn to withdraw from this case. As grounds,

  Defendant states that attorney Sonneborn is leaving the firm of Seyfarth Shaw LLP, and thus will

  no longer be representing Defendant.      Attorneys Kamps and Booker will continue their

  representation of Defendant.

         Accordingly, Defendant’s Motion to Withdraw as Attorney [Doc. 34] is hereby

  GRANTED. Attorney Sonneborn is RELIEVED of her duties as counsel in this case.

         IT IS SO ORDERED.

                                              ENTER:


                                              United States Magistrate Judge




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